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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                               11/13/2021

 2109971 ONTARIO INC. d/b/a XCELLA
 FURNITURE,

                                                Plaintiff,                    ORDER SCHEDULING PRE-
                                                                              SETTLEMENT TELEPHONE
                             -against-
                                                                              CONFERENCE
 SAMIRA FURNITURE LTD d/b/a SAMIRA                                            21-CV-4092 (DLC)
 OUTLET, VELVET IMPORT CORP., HOLLYWOOD
 FURNITURE LTD., WADHA IGBARA, REFAT
 IJBARA, and NEDAL IJBARA,

                                                Defendants.
-----------------------------------------------------------------X
KATHARINE H. PARKER, UNITED STATES MAGISTRATE JUDGE

         This case has been referred to me for settlement purposes (docket no. 34). A telephone

conference will be held on Wednesday, December 1, 2021 at 3:30 p.m. in advance of a

settlement conference. The parties are directed to review Judge Parker’s Individual Practices at

http://nysd.uscourts.gov/judge/Parker concerning settlement conferences in advance of the

call. Counsel for the parties are directed to call Judge Parker’s Chambers court conference line

at the scheduled time. Please dial (866) 434-5269, Access code: 4858267.

         SO ORDERED.

Dated: November 13, 2021
       New York, New York

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                                                                     KATHARINE H. PARKER
                                                                     United States Magistrate Judge
